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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

In re:                                                      Case No. 17-70283-M-13
         ARTURO DIAZ JR

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Cindy Boudloche, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 07/31/2017.

         2) The plan was confirmed on 04/16/2018.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 11/19/2018.

         5) The case was dismissed on 12/20/2018.

         6) Number of months from filing to last payment: 16.

         7) Number of months case was pending: 20.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $21,057.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor               $15,087.79
       Less amount refunded to debtor                              $0.00

NET RECEIPTS:                                                                                   $15,087.79


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                     $0.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                       $1,104.89
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $1,104.89

Attorney fees paid and disclosed by debtor:                  $837.00


Scheduled Creditors:
Creditor                                       Claim         Claim            Claim       Principal      Int.
Name                                 Class   Scheduled      Asserted         Allowed        Paid         Paid
CREDIT MANAGEMENT LP             Unsecured         320.00           NA              NA            0.00       0.00
DIRECTV LLC BY AMERICAN INFOSO   Unsecured         869.33        869.33          869.33           0.00       0.00
EAGLE FIN                        Unsecured           0.00           NA              NA            0.00       0.00
HIDALGO COUNTY                   Secured        5,870.28       5,870.28        5,870.28           0.00       0.00
HIDALGO COUNTY                   Secured        2,173.82            NA              NA            0.00       0.00
LOS PINOS HOMEBUILDERS LLC       Secured        6,595.12            NA         6,595.12           0.00       0.00
LOS PINOS HOMEBUILDERS LLC       Secured       60,000.00            NA        39,965.40     11,874.48        0.00
LVNV FUNDING LLC C/O RESURGEN    Unsecured            NA       1,254.96        1,254.96           0.00       0.00
OPORTUN                          Unsecured         994.00           NA              NA            0.00       0.00
PORTFOLIO RECOVERY ASSOC LLC     Unsecured         399.09        399.09          399.09           0.00       0.00
POSTPET AD VALOREM TAXES         Secured              NA            NA         9,419.80           0.00       0.00
WORLD ACCEPTANCE CORPORATIO      Unsecured            NA         531.07          531.07           0.00       0.00
WORLD ACCEPTANCE CORPORATIO      Secured        2,631.07       2,100.00        2,100.00      2,100.00        8.42




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                  $39,965.40         $11,874.48              $0.00
       Mortgage Arrearage                                 $6,595.12              $0.00              $0.00
       Debt Secured by Vehicle                            $2,100.00          $2,100.00              $8.42
       All Other Secured                                 $15,290.08              $0.00              $0.00
 TOTAL SECURED:                                          $63,950.60         $13,974.48              $8.42

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                              $3,054.45                $0.00            $0.00


Disbursements:

         Expenses of Administration                             $1,104.89
         Disbursements to Creditors                            $13,982.90

TOTAL DISBURSEMENTS :                                                                      $15,087.79


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/05/2019                             By: /s/ Cindy Boudloche
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                 CERTIFICATE OF SERVICE

I Certify that on or about April 05, 2019, a copy of the forgoing Trustee’s Final Report was
served electronically on all parties requesting electronic notice or by United States Mail to the
Debtor listed below:

ARTURO DIAZ JR
521 E ACACIA
ALAMO, TX 78516


                                                  /s/ Cindy Boudloche
                                                  Cindy Boudloche, Trustee




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